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                 EXHIBIT A
     -S
              Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 2 of 75 Page ID #:13
1.



                                              SUMMONS                                                                     (SOLO PAPA USO DELA tORTE)
                                          (CITACION JUDICIAL)
     NOTICE TO DEFENDANT:   BRENNTAGNORTHAMERJCA, INC. (sued                      CONFORMED Copy
     (AVISO AL DEMANDADO): individually and as successor-in-interest to MINERAL Superior Cour L FILED
     PIGMENT SOLUTIONS, INC. and as successor-in-interest to WHITI'AKER              untu S of California
     CLARJC&DANIELS, INC.) [SEE ADDFFIONALDEPENDANTS LIST]
                                                                                                                        APR 04 2017
     YOU ARE BEING SUED BY PLAIN11FF: CAROLYN WEIRICK                                                                        -


     (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                 tft rut Swtei
                                                                                                                             oiü1       wbcw/Cls&             q/
                                                                                                            I
                                                                                                                 ai$w,8 Rfl1n505         tep,ity


       NV IKtI you nave oeen sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
      below.
         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
      served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form If you want the court to hear your
      case. Them may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
      Online Self-Help Center (iwrw.coudinfo.ce.govlselmelp) your county law library, or the courthouse nearest you. If you cannot pay the filing fee, asic
                                                                ,

      the court cleric for a fee waIver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
      may be taken without further warning from the court.
          There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
      refenal service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
      these nonprofit groups at the California Legal ServIces Wbb site (wwwiewhelpcelifornla.o,g),the California Courts Online Self-Help Center
      (www.coufllnfo.ca.gov,selmeip), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more In a dvii case. The court's lien must be paid before the court will dIsmiss the case.
      ,AVISOI Lo lien dernandado. SI no responde denS o'e 30 dles Is code Oueds deddir Ofl SM contra sin escuclrarsu versiOn. Lea is 1nfonnac16n a
      conUnuaddn.
         none 30 DMS DE CALENDA RiO dospués do quo Is ontreguon este cltedOn ypapeleslegales pare presenter une respueste par escM to on este
      code y hacer quo so entregue une coe el demendeirte. line cede o une Ramada telefdnlca no lo psotegen. Su respuesta por escdto Rena quo ester
      on fomrato legal conecfo of doses qua psocesen su ceso an Is code. Es poslble quo haya on lonnuleifo que uSed puede user pare so s'espuede.
      Puede enconfraresfos fomjuledos do Is code y mds InfonnadOn an of Centre do Ayuda de las Codes de California (Www.sucorte.ca.gov), on to
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      quo Is dO on fon'nulodo do oxond6n do pago do cuotas. Si no prnsenta so ruspuesta a liempo, puodo parderel caso par Incumplimlento y to code to
      podre quitarsu sueldo, dlnero y Nones sin más advedencia.
        Hay ot,'os requisites legeles. Es recornendable quo Ilemo a on abogado Inmedlatamento. SI no conoce a on ebogedo, puedo ilarnare on sendclo do
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          w.iawhelpcalifomia.oraJ, an of Centro do Ayuda doles Codes do California, (Www.sucorte.ca.gov) 0 ponlOndose an contacto con Is coda o at
      coleglo do ebogedos locales. A VISO: Porley, Ia code tlene derecho a ieciarnarles cuotas yios costos exentos porimponer un grevamen sobre
      cualqulerrecuperaci6n do $10,000 6 rnOs do valor recibida medlente un ecuerdo 0 una concesl6n do arbitreJe an un case do dare cho dt41. Vane quo
      pager of gravamen dole code antes de quo Ia code pueda desecharel case.

     The name and address of the court is:                                                                      CASE
     (El nombreydireccion do Ia code as):
     Superior Cowl of California, County of Los Angeles
                                                                                               .
                                                                                                                                  w' 6       56 4 2 5
     111 NORTH }fflJL STREET
     The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney; is: LEAH C. KAGAN
     (El nombre, Ia dire cc16n y of nOmero do te!éfono del abogado del demandente, o del demendanto que no tiene abogado,                          as):
     SIMON GREENSTONE PANATIER BARTLETT
     3780 Kiiroy Airport Way, Ste. 540, Long Beach, CA 90806                                                    Go*ft774              562-590-3400
     DATE:
                                                                                                                                 ,NSwz
                                                                                 .,.   Clerk, by                                                          ,Deputy
                                                                             A          Scmt•)
     (Feche)          API? 0 L     2017                                  '
                                                                                                                                                           ('Adjunto)

               pivebo do entrega do este citatlón use el formulado Proof of Service of Summons, (P05-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
      csEAq
                                            i.[J   as an individual defendant.
                                            2.     as the person sued under the fictitious name of (specir):


                                                      on behalf of (spocii):                          .4 'S      Q.eS"        Ce,.,a      .----..,..   ra..a
                                               under   C       CCP 416.10 (corporation)                          C       CCP 416.60 (minor)
                                                       C       CCP 416.20 (defunct corporation)                  C       CCP 416.70 (conservatee)
                                                       r:      CCP 416.40 (association or partnership)           (flj    CCP 416.90 (authorized perôon)
                                                       C        other (spec115t):
                                              ci by personal delivery on (date):
      Form Adopted for Mandatey Use                                          SUMMONS                                                 CodeofCk5 Procedure Mt 41Z206 485
          Judidal Coundi of Caitamb                                                                                                                 v*acowlWacagow
          SIJM.100 (Rev. July 1.20091                                                                                                          Wcedsw Dec & Fern tr
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                                                                                                                           SUM-200(A)
   SHORT TITLE: CAROLYN WEIR[CKvs. BRENNTAG NORTH AMERICA, INC.,                              CASENUMBEt




                                                         INSTRUCTIONS FOR USE
  3 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  3 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: uAdditional Parties
      Attachment form is attached."

   LIst addItional partIes (Check only one box. Use a sepamte page for each type of party.):

     C        Plaintiff           (] Defendant    r:   Cross-Complainant   [J Cross-Defendant
  BRENNTAG SPECIALTIES, INC. We !vffi€RAL PIGMENT SOLUTIONS, INC. (sued individually and as successor-in-
 interest to WIII'fl'AKER CLARK & DANIELS, INC.);
  CAL OAKS PHARMACY, INC.;
  CHANEL, INC.;
  CYPRUS AMAX MINERALS COMPANY (sued individually, doing business as, and as successor to METROPOLITAN TALC
  CO. INC. and CHARLES MATHIEU INC. and SIERRA TALC COMPANY and UNITED TALC COMPANY);
  IMERYS TALC AMERICA, INC. (sued individually and as successor-in-interest to LUZENAC AMERICA, INC. successor-in-
  interest to CYPRUS INDUSTRIAL MINERALS COMPANY);
  JOHNSON & JOHNSON;
  JOHNSON & JOHNSON CONSUMER INC., a subsidiazy of JOHNSON & JOHNSON
  VALEANT PHARMACEUTICALS INTERNATIONAL CORPORATION;
  VALEANT PHARMACEUTICALS NORTH AMERICA LLC;
  WHITFAKER CLARK & DANIELS, INC.; and
  DOES 1-450




                                                                                                                 Page     1     of 1
                                                                                                                                  Pap loll
FoimAptSbWandaIniyUso
   Judidal Coijr,dl of Cairomla         .    .
                                                 ADDITIONAL PARTIES ATI'ACHMENT
SUM.200LA) LRaY. Januaty 1.2007)         .             Attachment to Summons
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1    JENNIFER L. BARTLEn, CABarNo. 183154
     LEAR KAGAN, CA BAR No. 283925                              CONFORMED COPY
                                                                  ORIGINAL PILED
     SIMON GREENSTONE PANATIER BARTLETT, P. C.                 Superior Court of California
     3780 Kilroy Airport Way, Suite 540                          Couflt of 1.0p AnnmltO
3    Long Beach, California 90806
     Telephone (562) 590-3400                                        APR.0 4 2017
4    Facsimile (562) 590-3412
                                                            $hnl K. CSei, axnutive aflicur/CIsk
5    Attorneys for Plaintiff                                 r: SIIa RehilisOS. fteiwty.
6

7

8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
9                              FOR THE COUNTY OF LOS ANGELES
10

11 CAROLYN WEIRICK,                              CaseNo.            8C6564 25
12                               Plaintiff,      COMPLAINT FOR
                   vs.                           PERSONAL INJURY— ASBESTOS
13                                               (NEGLIGENCE; STRICT LIABILITY)
14   BRENNTAG NORTH AMERICA,
     INC. (sued individually and as successor-
15   in-interest to MINERAL PIGMENT
     SOLUTIONS, INC. and as successor-in-
16   interest to WHIflAKER CLARK &
     DANIELS, INC.);
17   BRENNTAG SPECIALTIES, INC.
     f/k/a MINERAL PIGMENT
18   SOLUTIONS, INC. (sued individually
     and as successor-in-interest to
19   WHIrFAXER CLARK & DANIELS,
     INC.);
20   CAL OAKS PHARMACY, INC.;
     CHANEL, INC.;
21   CYPRUS AMAX MINERALS
     COMPANY (sued individually, doing
22   business as, and as successor to
     METROPOLITAN TALC CO. INC. and
23   CHARLES MATHIEU INC. and
     SiERRA TALC COMPANY and
24   UNITED TALC COMPANY);
     IMERYS TALC AMERICA, INC.
25   (sued individually and as successor-in-
     interest to LUZENAC AMERICA, INC.
26   successor-in-interest to CYPRUS
     INDUSTRIAL MINERALS
27   COMPANY);
     JOHNSON & JOHNSON;.
28   JOHNSON & JOHNSON


                               COMPLAB4T FOR PERSONAL INJURY ASBESTOS
                                                           -
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1    CONSUMER INC., a subsidiary of
     JOHNSON & JOHNSON;
2    VALEANT PHARMACEUTICALS
     INTERNATIONAL CORPORATION;
3    VALEANT PHARMACEUTICALS
     NORTH AMERICA LLC;
4    WHITTAKER CLARK & DANIELS,
     INC.; and
5    DOES 1-450,
                          Defendants.
6
                              GENERAL ALLEGATIONS
                   COMES NOW Plaintiff, CAROLYN WEIIUCIC (hereinafter "Plaintiff'), and
8
     complains and alleges as follows:
            1.     The true names and capacities, whether individual, corporate, associate,
10
     governmental or otherwise of Defendant DOES 1 through 450, inclusive, are unknown to
11
     Plaintiff at this time, who therefore sues said Defendants by such fictitious names. When the
12
     true names and capacities of said Defendants have been ascertained, Plaintiff will amend this
13
     complaint accordingly. Plaintiff is informed and believes, and thereon alleges, that each
14
     Defendant designated herein as a DOE is responsible, negligently or in some other actionable
15
     manner, for the events and happenings hereinafter referred to, and caused injuries and damages.
16
     proxüiately thereby to the Plaintiff, as hereinafter alleged.
17
            2.     At all times herein mentioned, each of the Defendants were the agent, servant,
18
     employee and/or joint venture of its Co-Defendants, and each of them, and at all said times
19
     each Defendant was acting in the fill course and scope of said agency, service, ethployment
20
     and/or joint venture. Plaintiff is informed and belidves, and thereon alleges that at all times
21
     herein mentioned, Defendants BRENNTAG NORTH AMERICA, INC. (sued individually
22
     and as successor-in-interest to MINERAL PIGMENT SOLUTIONS, INC. and as successor-
23
     in-interest to WHITFAKER CLARK & DANIELS, INC.), BRENNTAG SPECIALTIES,
24
     INC. f/k/a MINERAL PIGMENT SOLUTIONS, INC. (sued individually and as successor-in-
25
     interest to WHIflAXER CLARK & DANIELS, INC.), CAL OAKS PHARMACY, INC.,
26
     CHANEL, INC., CYPRUS AMAX MINERALS COMPANY (sued individually, doing
27
     business as, and as successor to METROPOLITAN TALC CO. INC. and CHARLES
28
     MAThIEU. INC. and SIERRA TALC COMPANY and UNITED TALC COMPANY),
                                                  2
                              COMPLAJIJT FOR PERSONAL INJURY ASBESTOS-
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1    IMERYS TALC AMERICA, INC. (sued individually and as successor-in-interest to
2'   LUZENAC AMERICA, INC. successor-in-interest to CYPRUS INDUSTRIAL MINERALS
3    COMPANY), JOHNSON & JOHNSON, JOHNSON & JOHNSON CONSUMER INC., a
4    subsidiary of JOHNSON & JOHNSON, VALEANT PHARMACEUTICALS
5    INTERNATIONAL CORPORATION, VALEANT PHARMACEUTICALS NORTH
6    AMERICA LLC, WHITTAKER CLARK & DANIELS, INC. and DOES 1450 inclusive,
7    were individuals, corporations, partnerships and/or unincorporated associations organized and
8    existing under and by virtue S the laws of the. State of California, or the laws of some other
 9   state or foreign jurisdiction, and that. said Defendants, and each of them, were and are
10   authorized to do and are doing business in the State of California, oi the laws of some other
11   state or foreign jurisdiction, and that said Defendants, and each of them, were and are
12   authorized to do and are doing, business in the State of California, and that said Defendants
13   have regularly conducted business in the County of Los Angeles, State of California.
14       -   3.   Plaintiff alleges herein that she developed malignant mesothelioma as a result of
15   exposure to asbestos from Defendants' asbestos, and/or raw asbestos fiber of various kinds and
16   grades, and/or asbestos-containing products, and/or, asbestos-containing talc and/or. other
17   finished and unfinished asbestos-containing talcum powder products, and/or equipment
18   requirirg and/or calling for the use of asbestos and/or asbestos-containing products, and/or
19   products designed to cut, saw, or othàwise manipulate, and/or equipment solel' designed to
20   be used with asbestos-containing products including: BRENNTAG NORTH AMERICA,
21   INC. (sued individually and as successor-in-interest to MiNERAL PIGMENT SOLUTIONS,
22   INC. and as successor-in-interest to WHI'fl'AKER CLARK & DANIELS, INC.) (as a
23   supplier of asbestos-containing talc); BRENNTAG SPECIALTIES, INC. fi'k/a M1NERAL
24   PIGMENT SOLUTIONS, INC. (sued individually and as successor-in-interest to
                                                               ,




25   WHIflAXER CLARK & DANIELS, INC.) (as a supplier of asbestos-containing talc) ; CAL
26   OAKS PHARMACY, INC. (as a supplier of asbestos-containing talcum powder products);
27   CHANEL, INC. (for asbestos-containing Chanel No. 5 Body Powder);. CYPRUS AMAX
28   MINERALS COMPANY (sued individually, doing business as, and, as successor to
                                                3
                             COMPLAINT FOR PERSONAL INJuRY ASBESTOS-
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1    METROPOLITAN TALC CO. INC. and CHARLES MATHIEU INC. and SIERRA TALC
 2   COMPANY and UNITED TALC COMPANY) (as a supplier of asbestos-containing talc);
     • IMERYS TALC AMERICA, INC. (sued individually and as successor-in-interest to
 4   LUZENAC AMERICA, INC. successor-in-interest to CYPRUS INDUSTRIAL MiNERALS
 g COMPANY) (as a supplier of asbestos-containing talc); JOHNSON & JOHNSON (for
 6   asbestos-containing Johnson 's Baby Powder and Shower-to-Shower talcum powder);
 7   JOHNSON & JOHNSON CONSUMER INC., a subsidiary of JOHNSON & JOHNSON
 8   (for asbestos-containing Shower-to-Shower talcum powder);                           VALEANT
 9   PHARMACEUTICALS INTERNATIONAL CORPORATION (for asbestos-containing
10 Shower-to-Shower talcum powder);              VALEANT PHARMACEUTICALS NORTH
11   AMERICA LLC (for asbestos-containing Shower-to-Shower talcum powder); and
12   WHITTAKER CLARK & DANIELS, INC. (as a supplier of asbestos-containing talc).
13                         .         FIRST CAUSE OF ACTION
14                                            (Negligence)
15      PLAINTIFF COMPLAINS OF DEFENDANTS AND DOES 1-450, THEIR
   "ALTERNATE ENTITIES", AND EACH OF THEM, AND FOR A CAUSE OF ACTION
16 FOR NEGLIGENCE ALLEGES AS FOLLOWS:

17      4.   Plaintiff incorporates herein by reference, as though fully set forth therein, the
                 .




18   general allegations set forth above.
19          5.       At all times herein mentioned, each of the named Defendants and DOES 1
20   through 450 were the successor, successor-inrbusiness, successor-in-product line or a portion
21   thereof, parent, subsidiary, wholly or partially owned by, or the whole or partial owner of or

22   member in an entity researching, studying, manUfacturing, fabricating, designing, modifying,

23   labeling, assembling, distributing, leasing, buying, offering for sale, supplying, selling,

24   inspecting, servicing, installing, contracting for installation, repairing, marketing, wananting,

25   re-branding, manufacturing for others, packaging and advertising asbestos, and/or raw asbestos

26   fiber of various kinds and grades, and/or asbestos-containing products, and/or asbestos-
27   containing talc and/or other finished and unfinished asbestos-containing talcum powder
28   products, and/or equipment requiring and/or calling for the use of asbestos and/or asbestos-

                                                  4
                               COMPLAINT FOR PERSONAL INJURY ASBESTOS
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:1.       containing products, and/or products designed to cut, saw, or otherwise manipulate, and/or
2         equipment solely designed to be used with asbestos-containing products including, but not
3         limited to, those products identified in paragraph 3 above. Said entities shall hereinafter
4         collectively be called "alternate entities." Each of the herein named Defendants is liable for
5         the tortious conduct of each successor, successor-in-business, successor-in-product linior a
6         portion thereof, assign; piedecessor in product line or a portion thereof, parent, subsidiary,
7         whole or partial owner, or wholly or partially owned entity, or entity that it was a member of,
8         or funded, that researched, repaired, marketed, warranted, re-branded, manufactured for others
 9        and advertised asbestos, and/or raw asbestos fiber of various kinds and grades, and/or
10        asbestos-containing products, and/or asbestos-containing talc and/or other finished and
11        unfinished asbestos-containing talcum powder products, and/or equipment requiring and/oi
12        calling for the use of asbestos and/or asbestos-containing products, and/or 'products designed to
13        cut, saw, or otherwise manipulate, and/or equipment solely designed to be used with asbestos-
14        containing ( products. The following Defendants, and each of them, are liable for the acts of
15        each and every "alternate entity", and each of them, in that there has been a virtual destruction
16        of Plaintiffs remedy against each such "alternate entity"; Defendants, and each of them, have
17        acquired the assets, product line, or a portion thereof, of each such "alternate entity";
18        Defendants, and each of. them, have caused the destruction of Plaintiffs remedy against each
19        such "alternate entity"; each such Defendant has the ability to assume the risk-spreading role
20        of each such "alternate entity"; and that each such Defendant enjoys the goodwill originally
21        attached to each such "alternate entity"
22        DEFENDANT                                        ALTERNATE ENTITY.
23        BRENNTAG NORTH AMERICA, rNC                      MINERAL PIGMENT SOLUTIONS, INC
24                                                         WHITFAKER, CLARK & DANIELS, INC.

25    I BRENNTAG SPECIALTIES, INC.                         MINERAL PIGMENT SOLUTIONS, INC.
                                                           WHITFAXER, CLARK & DANIELS, INC.
26
   CYPRUS AMAX MINERALS COMPANY SIERRA TALC COMPANY
27                               UNITED TALC COMPANY
28                               METROPOLITAN  TALC CO. INC.
                                 CHARLES MATHIEU INC.
      I                                                   5.
                                  COMPLAINT FOR PERSONAL INJURY-, ASBESTOS
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1
      IMERYS TALC AMERICA, INC.                             LUZENAC AMERICA, INC.
2
                                                            CYPRUS INDUSTRIAL MINERALS
3                                                           COMPANY
4     JOHNSON & JOHNSON CONSUMER INC. JOHNSON & JOHNSON
 5                      At all times herein mentioned, Defendants, their "alternate entities", and each of

 6!   them, were and are engaged in the bUsiness of researching, manufacturing, fabricating,
 7        designing, modifying, labeling, assembling, distributing, leasing, buying, offering for sale,
 8        supplying, sellingr. inspecting, servicing, installing, contracting for installation, repairing,
 9        renting, marketing, warranting, re-branding, manufacturing for others, packaging, and
10        advertising asbestos, and/or raw asbestos fiber of various kinds and grades, and/or asbestos-
11        containing products, and/or asbestos-containing talc and/or other finished and unfinished
12        asbestos-containing talcum powder products, and/or equipment requiring and/or calling for the

13        use of asbestos and/or asbestos-containing products, and/or products designed to cut, saw, or
14        otherwise manipulate, and/or equipment solely designed to be used with asbestos-containing
15        products (hereinafter "Defendants' Products").
16                      At all times herein mentioned, Defendants, their "alternate entities", and each of
17        them, singularly and jointly, negligently and carelessly researched, ménufactured, fabricated,
18        specified, designed, modified, tested or failed to test, abated or failed to abate, warned or failed
19        to warn of the health hazards, failed to recall and/or retrofit, labeled, assembled, distributed,
20        leased, bought, rented, offered for sale, supplied, sold, inspected, serviced, installed, contracted
21        for installation, repaired, marketed, warranted, re-branded, manufactured for others, packaged,
22        and advertised Defendants' Products including, but not limited to, those products identified in
23        paragraph 3 above, in that the Defendants' Products were unreasonably dangerous because
24 they released respirable asbestos fibers which resulted in personal injuries to users, consumers,
25        workers, bystanders, and others, including Plaintiff CAROLYN WEIRICK herein (hereinafter
26        collectively called :'exposed persons"). Defendants' Products were used at all times in a
27        manner that was reasonably foreseeable to Defendants, their "alternate entities", and each of
28        them, thereby rendering Defendants' Products unsafe and dangerous for use by "exposed

      I                                                    6
                                   COMPLAINT FOR PERSONAL INJuRY ASBESTOS-
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1        person?'. Plaintiff herein alleges that CAROLYN WEIRICK was exposed to asbestos that
2        was caused to be released as a result of exposure to Defendants' Products including, but not
3        limited to, those products identified in paragraph 3 above, which were a substantial
4        contributing factor in the development of her malignant mesothelioma, and therefore
         proximately caused Plaintiff CAROLYN WEIRICK's injuries.
6               8.     Defendants, theft "alternate entities", and each of them, had a duty to exercise
 7       reasonable care while engaging in the activities mentioned above and each Defendant breached
 8       said duty of reasonable care in that Defendants, and each of them, failed to safely and
 9       adequately design, manufacture and/or sell Defendants' Products; failed to test said products;
10       failed to recall and/or retrofit; failed to investigate the hazards of said products; failed to warn
11       "exposed persons", including Plaintiff CAROLYN WEIRICK and her Mother, of the health
12       hazards of using said products; failed to disclose the known or knowable dangers of using
13       Defendants' Products; failed to warn of the harmful exposures caused by use of Defendants'
14       Products; failed to recall and/or retrofit; failed to obtain suitable alternative materials to
15       asbestos when such alternatives were available; and as otherwise stated herein.
16              9.     The Defendants' Products were and are hazardous to the health and safety of
17       Plaintiff, and others in Plaintiffs position personally using and in close proximity to such
18       products, and since on or before 1930, the hazards and dangerous propensities of the
19       Defendants' Products were both known and knowable to the Defendants, their "alternate
20       entities", and each of them, through the use of medidal and/or scientific data and other
21       knowledge available to Defendants, theft "alternate entities", and each of them, at the time of
22       Defendants' manufacture, distribution, sale, research, study, fabrication, design, modification,
23       labeling, assembly, leasing, buying, offering for sale, supply, inspection, service, installation,
24       contracting for installation, repair, marketing, warranting, re-branding, re-manufacturing for
25       others, packaging and advertising of Defendants' Products, which clearly indicated the hazards
26       and dangerous propensities of asbestos presented a substantial danger to users, including
27       Plaintiff CAROLYN WEIRICK and her Mother, of Defendants' Products through the intended
28       and reasonably foreseeable use of those products.               .




     I                                                     7
                                  COMPLAINT FOR PERSONAL INJURY ASBESTOS-
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3.    .    10.        Defendants, their "alternate entities", and each of them, knew, or reasonably
2    should have known, that Defendants' Products were dangerous and were likely to be
3 . dangerous when used in their intended and reasonably foreseeable manner.

4          11. Defendants; their "alternate entities", and each of them, knew, or reasonably
5    should have known, that Defendants' Products would, be personally used, installed, repaired,
6    maintained, overhauled, removed, sawed, chipped, hammered, mixed, scraped, sanded, swept,
7    broken, "ripped out," and/or used to cut, saw, grind, or otherwise manipulate products
 8   containing asbestos, or otherwise disturbed in their ordinary, intended and foreseeable use,
 9   resulting in the release of airborne hazardous and dangerous asbestos fibers, and that through
10   such activity, "exposed persons," including Plaintiff CAROLYN WEIRICK herein, would be
11   exposed to hazardous and dangerous'asbestos fibers. Defendants, their "alternate entities", and
12   each of them, knew or reasonably should have known that users, such as Plaintiff CAROLYN
13   WEIRICK and her Mother, and others in Plaintiff's position using and in close proximity to
14   Defendants' Products, would not realize or know the danger. Defendants, their "alternate
15   entities", and each of them, negligently failed to adequately warn or instruct of the dangers of
16   Defendants' Products and failed to recall and/or retrofit the products. A reasonable designer,
17   manufacturer, distributor, seller, installer, buyer or supplier, wider the same or similar
18   circumstances, would have warned of the dangers to avoid exposing others to a foreseeable
19   risk of harm. The negligent failure of Defendants, their "alternate entities", and each of them,
20   to warn was a substantial factor in causing harm to Plaintiff CAROLYN WEIRICK.
21          12.   '   Plaintiff CAROLYN WEIRICK and her Mother personally used, handled, or
22   were otherwise exposdd to asbestos from Defendants' Products referred to herein in a manner
23   that was reasonably -foreseeable to, Defendants, and each of them. Plaintiff's exposure to
24   Defendants' Products occurred at various locations set forth in Exhibit "A", which is attached
25   hereto and incorporated by reference herein.
26          13. As a direct and proximate result of the conduct of the Defendants, their
27   "alternate entities", and each of them, as aforesaid, Plaintiff CAROLYN WEIRECK's exposure
28   to asbestos from her personal use and her Mother's use of Defendants' Products caused severe
                                                   8
                                COMPLAINT FOR PERSONAL INJURY ASBESTOS
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1    and permanent injury to the Plaintiff, the nature of which, along with the date of Plaintiff's
2    diagnosis and the date she leaSed such injuries were attributable to exposure to Defendants'
3    Products, are set forth in Exhibit "B", which is attached hereto and incorpoated by reference
4    herein. Plaintiff is informed and believes, and thereon alleges, that j,rogressive lung disease,
5    cancer and other serious diseases are caused by inhalation of asbestos fibers without
6    perceptible trauma and that said disease results from exposure to Defendants' Products over a
7    period of time.                        .




8             14. Plaintiff CAROLYN WEIIUCK suffers from malignant pleural mesothelioma
9    caused by exposure to asbestos from Defendants' Products and/or from the use of Defendants'
10   Products, including those products identified in paragraph 3 above. Plaintiff CAROLYN
ii   WEIRICK was not aware at the time of exposure that Defendants' Products presented any risk
12   of injury and/or disease.
13            15. As a direct and proximate result of the aforesaid conduct of Defendants, their
14   "alternate entities", and each of them, Plaintiff CAROLYN WEIR.ICK has suffered and, will
15   continue to suffer permanent injuries and future injuries to her person, body and health,
16   including, but not limited to, pain, discomfort, loss of weight, loss of appetite, fatigue,
17   somnolence, lethargy, dyspnea, dysphagia, and other physical symptoms, and the mental and
18   emotional distress attendant thereto, as Plaintiff's malignant mesothelioma progresses, all to
19   her general damage in a sum in excess of the jurisdictional limits of a limited civil case.
20            16. As a direct and proximate result of the aforesaid conduct of the Defendants, their'
21   "alternate entities", and each of them, Plaintiff CAROLYN WEIRICK has incurred, is
22   presently incurring, and will incur in the future, liability for ph'sicians, surgeons, nurses,
23   hospital care, medicine, hospices, X-rays and other medical treatment, the true and exact
24   amount thereof being presently unknown to Plaintiff, subject to proof at trial.
25        .   17. As a further direct and proximate result of the said conduct of the Defendants,
26   their "alternate entities", and each of them, Plaihtiff has incurred, and will incur, loss of
27   income, wages, profits and commissions, a diminishment of earning potential, , and other
28   pecuniary losses, the true and exact amount thereof being presently unknown to Plaintiff,
                                                    9
                                 COMPLAINT FOR PERSONAL INJURY ASBESTOS
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 1   subject to proof at trial.
 2          18.     Plaintiff further alleges that Defendants, their "alternate entities", and each of
 3   them, also engaged in the following wrongful acts:
 4          (a)     Defendants, their "alternate entities", and each of them, suppressed from all
 5   consumers, including Plaintiff CAROLYN WEIRICK and her Mother, medical and scientific
 6   information concerning the health hazards associated with inhalation of asbestos, including the
 7   substantial risk of injury or death therefrom. Although Defendants, and each of them, knew of
 8   the substantial risks associated with exposure to asbestos, they willfully and knowingly
 9   concealed such information from the users of Defendants' Products in conscious disregard of
10 the rights, safety and welfare of "exposed persons", including Plaintiff CAROLYN WEIRICK;
11          (b)     Defendants; their "alternate entities", and each of them, belonged to, participated
12   in, and flnanciallysupported industry organizations including, but not limited to, the Cosmetic
13   Toiletry and Fragrance Association (now Personal Care Products Council), the Gypsum
14   Association, Asbestos Information Association, Industrial Hygiene Foundation and others,
15   which, for and on behalf of Defendants, their "alternate entities", and each of them, actively
16   promoted the suppression of information about the dangers of asbestos to users of the
17   aforementioned Defendants' Products, thereby misleading Plaintiff CAROLYN WEIRICK
18   and her Mother as to the safety of their products. Through their participation and association
19   with such industry organizations, Defendants, and each of them, knowingly and deliberately
20   concealed and suppressed the •true information regarding asbestos and its dangers, and
21   propagated misinformation intended to instill in users of Defendants' Products a false security
22   about the safety of their products. The Dust Control Committee, which changed its name to
23   the Air Hygiene Committed of the Asbestos Textile Institute, was specifically enlisted to study
24   the subject of dust control. Discussions in this committee were held many times regarding the
25   dangers inherent in asbestos and the dangers, which arise from the lack of conftol of dust, and
26   such information was suppressed from public dissemination from 1946 to a date unknown to
27   Plaintiff CAROLYN WEIRICK at this time;
28           (c) Commencing in 1930 with the study of mine and mill workers at Asbestos and

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                                  COMI'LAINT FOR PERSONAL INJURY ASBESTOS
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1     Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-Manhattan
2     plants in Manheim and Charleston, South Carolina, Defendants, their "alternate entities", and
 3    each of them, knew and possessed medical and scientific information of the connection
4     between.the inhalation of asbestos fibers and asbestosis, which information was disseminated
 5    through the Asbestos Textile Institute and other industry organizations to all other Defendants,
 6    their "alternate entities", and each of them, herein. Between 1942 and 1950, the Defendants,
 7    their "alternate entities", and each of them, failed to provide this information to consumers;
 8           (d) Defendants, their "alternate entities", and each of them, failed to warn Plaintiff
 9    CAROLYN WEIRICK, her Mother, and others of the nature of Defendants' Products which
10    were dangerous when breathed and which could cause pathologidal effects without noticeable
11    trauma, despite the fact that Defendants, their "alternate entities", and each of them, possessed
12    knowledge and were under a duty to disclose that said products were dangerous and a threat to
13    the health of persons coming into contact therewith;
14           (e)    Defendants, their "alternate entities", and each of them, failed to provide
15    Plaintiff CAROLYN WEIRICK or her Mother with information concerning adequate
16    protective masks and other equipment devised to be used when applying, mixing, sawing,
17    cutting, installing and sanding Defendants' Products, and/or from the use of Defendants'
18    Products, their "alternate entities", and each of them, despite knowing that such protective
19    measures were necessary, and that they were under a duty to disclose that such materials were
20    dangerous and would result in injury to Plaintiff CAROLYN WEIRICK and others when
21    personally using, applying, installing and exposed to Defendants' Products;
22           (1) .Defendants, their "alternate entities", and each of them, knew and failed to
23    disclose that Plaintiff CAROLYN WEIRICK and anyone similarly situated, upon inhalation of
24    asbestos would, in time, have a substantial risk of developing irreversible conditions of
25    pneumoconiosis, asbestosis, mesothelioma and/or cancer;
26.          (g)    Defendants, their "alternate entities", and each of them, failed to provide
27    information of the true nature of the hazards of asbestos-containing materials and that
28    exposure to these materials would cause pathological effects without noticeable trauma to the
                                                  11
                               COMI'LAINT FOR PERSONAL INJURY ASBESTOS
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1        public, including buyers, users, and physicians employed by Plaintiff CAROLYN WEIRICK
2        so that said physicians could not examine, diagnose, and treat Plaintiff and others who were
3        exposed, to asbestos, despite the fact that Defendants, their "alternate entities", and each of
4        them, were uñder.a duty to so inform and said failure was misleading.
 5              19. Defendants, their "alternate entities", and each of them, and their officers,
6        directors, and managing agents participated in, authorized, expressly and impliedly ratified,
 7       and had fiuil knowledge of, or should have known of, each of the acts set forth herein.
 8       Defendants, their "alternate entities", and each of them, are liable for the oppressive and
 9       malicious acts of their "alternate entities", and each of them, and each Defendant's officers,
10       directors, and managing agents participated in, authorized, expressly and impliedly ratified,
11       and had fill knowledge of, or should have known of, the acts of each of their "alternate
12       entities" as set forth herein.
13              20; The herein-described conduct of said Defendants, their "alternate entities", and
14       each of them, was and is willful, malicious, oppressive, outrageous, and in conscious disregard
15       and indifference to the safety and health of "exposed persons," including Plaintiff CAROLYN
16       WEIRICK, in that Defendants, and each of them, continued to manufacture, market and/or sell
17       Defendants' Products known to cause asbestos to be released and to cause severe, permanent
18       injuries and death, despite possessing knowledge of the substantial hazards posed by use of
19       Defendants' Products, in order to continue to profit financially therefrom. Defendants, their
20       "alternate entities", and each of them, engaged in such conduct so despicable, contemptible,
21       base, vile, miserable, wretched and loathsome as to be looked down: upon and despised by
22       ordinary people and justifies an award of punitive and exemplary damages pursuant to Civil
23       Code section 3294. Plaintiff, for the sake of example and by way of punishing Defendants,
24       seeks punitive damages according to proof.
25              21. Defendants, and each of them, engaged in conduct which was intended by
26       Defendants, and each of them, to cause injury to the Plaintiff, and despicable conduct which
27       was carried on by the Defendants with a willful and conscious disregard of the rights or safety
28       of others, including Plaintiff CAROLYN WEIRICK.
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 1               22. Defendants, and each of them, engaged in the despicable conduct described
 2        herein that subjected persons, including Plaintiff CAROLYN WEIRICK, to cruel and unjust
 3        hardship in the form of severe, debilitating and fatal diseases like asbestosis, lung cancer and
 4        mesothelioma, in conscious disregard of those persons' rights.
 5               23. As a direct and proximate result of such intentional conduct by Defendants, their
 6        "alternate entities", and each of them, Plaintiff CAROLYN WEIRICK sustained the injuries
 7        and damages alleged herein.
 8               W}EREFOR.E, Plaintiff prays for judgment against Defendants, their "alternate
 9        entities", and each of them, as hereinafter set forth.
10                                         SECOND CAUSE OF ACTION
                                                (Strict Liability)
11

12
                AS AND FOR A SECOND, SEPARATE, FURTHER AND DISTINCT CAUSE OF
          ACTION FOR STRICT LIABILITY, PLAINTIFF COMPLAINS OF DEFENDANTS, DOES
13        1-450, THEiR. "ALTERNATE ENTITIES", AND EACH OF THEM, AND ALLEGES AS
          FOLLOWS:
14,
                 24.    Plaintiff incorporates herein by reference, as though flilly set forth therein, each
15
          and every one of the general allegations and the allegations contained in the First Cause of
16
          Action herein.
17
                 25.    Defendants, their "alternate entities", and each of them, sold the aforementioned
18
          Defendants' Products, which were defective in that they failed to adequately warn or instruct
19
          of the known and knowable dangers and risks of the ordinary, intended, and foreseeable use of
20
          said products, which dangers and risks would not have been, and were not, recognized by
21
          ordinary consumers of Defendants' Products, including Plaintiff CAROLYN WEIRICK and
22
          her Mother, and the lack of sufficient instructions and/or warnings was a substantial factor in
23
          causing harm to Plaintiff CAROLYN WEIRICK and others in Plaintiff's position personally
24
          using, working with, and in close proximity to Defendants': Products.
25
                 26. Defendants' Products were defective and unsafe for their intended purpose and
26
          foreseeable use in that when used, handled, installed, repaired, maintained, overhauled,
27
          removed, sawed, chipped, hammered, mixed, scraped, sanded, swept, broken, "ripped out,"
28
          and/or used to cut, saw, grind, or otherwise manipulate products containing asbestos, or
      I                                              13
                                   COMPLAINT FOR PERSONAL INJURY ASBESTOS
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1    otherwise disturbed, said products would result in the release, and therefore inhalation of,
2    hazardous and dangerous asbestos fibers by exposed persons, including Plaintiff CAROLYN
3    WEIRICK. The defect existed in all of Defendants' Products when they left the possession of
4    the- Defendants, their "alternate entities", and each of them. At the time Defendants' Products
S were used by Plaintiff CAROLYN WEIRICK and her Mother, and others in Plaintiffs
6    position personally using, working with, and in close proximity to said products, the products
7    were substantially the same as when they left the possession of the Defendants, their "alternate
8    entities", and each of them, and/or any changes made to said products after they left the
 9   possession of Defendants, their "alternate entities", and each of them, were reasonably
10   foreseeable 'to Defendants, their "alternate entities", and each of them. Defendants' Products
11   were used by Plaintiff 'CAROLYN WEIRICK and her Mother,, and others in Plaintiff's
12   position personally using, working with, and in close proximity to said products in a way that
13   was reasonably foreseeable to Defendants, and each of them. The defect in Defendants'
14   Products was a substantial factor in causing harm and personal injuries to Plaintiff CAROLYN
15   WEIRICK, including malignant mesotheliorna, while being used ina reasonably foreseeable
16   manner, thereby rendering Defendants' Products defective, unsafe, and unreasonably
17   dangerous for their ordinary and intended use.
18          27. As a direct and proximate result of the actions and conduct outlined herein,
19   Defendants' Products were defective in that they failed to perform as safely as an ordinary
20   consumer would have expected in that Defendants' Products, and each of them, caused
21   respirable asbestos fibers tobe released from Defendants' Products during their ordinary and
22   intended use, and such hazardous exposures lacked any perceptible qualities to the human
23   body, yet they cause severe ,and fatal diseases, including asbestosis, lung cancer, mesothelioma
24   and other cancers, in humans. Plaintiff further alleges that "exposed persons", including
25   Plaintiff CAROLYN WEIRICK, were unaware of the harmful effects of asbestos and further
26   unaware of the harmful exposures to Defendants' Products when such exposures occurred, and
27   thus the failure of Defendants' Products to perform as safely as Plaintiff CAROLYN
28   WEIRICK had reason'to expect was a substantial factor in caiusing her injuries. Moreover,

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                             COMPLAThT FOR PERSONAL INJURY ASBESTOS
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1     Defendants' Products were also defective in their design under the "rislc/benefit test" of design
2     defect bocause the risks of said products outweighed their benefits.
3            28. As a 'direct and proximate result of the actions and conduct outlined herein,
4     'Plaintiff CAROLYN WEIRICK has suffered the injuries and damages alleged herein.
5      .     29.    Plaintiff further alleges 'that Defendants, their "alternate entities", and each of
6     them, also engaged in the following wrongful acts:   '




7            (a)    Defendants, their "altèrnaie entities", and each of them, suppressed from all
8     consumers, including Plaintiff CAROLYN WEIRICK and her Mother, medical and scientific
 9    information concerning the health hazards associated with inhalation of asbestos, including the
10    substantialrisk of injury or death therefrom. Although Defendants, and each of them, knew of
11    the substantial risks associated with exposure to asbestos, they willfully and knowingl
12    concealed such information from the users of Defendants' Products in conscious disregard of
13    the rights, safety and welfare of "exposed persons", including Plaintiff CAROLYN WEIRICK;
14           (b)    Defendants, their "alternate entities", and each of them, belonjed to, participated
15    in, and fmancially supported industry organizations including, but not limited to, the Cosmetic
16    Toiletry and Fragrance Association (now Personal Care Products Council), the Gypsum
17    Association, Asbestos Information Association, Industrial Hygiene Foundation and others,
18    which, for and on behalf of Defendants, their "alternate entities", and each of theth, actively
19    promoted the suppression, of infdrmation abbut the dangers of asbestos to users and bystanders
20    of the aforementioned Defendants' Products, thereby misleading Plaintiff CAROLYN
21    WEIRICK and her Mother as to the safety of said products. Through their participation and
22    association with such industry organizations, Defendants, and each of them, knowingly and
23    deliberately concealed and suppressed the true information regarding asbestos and its dangers,
24    and propagated misitiformation intended to instill in users of and bystanders to Defendants'
25.   Products a false security about the safety of said products. The Dust Control Committee,
26    which changed its name to the Air Hygiene Comm ittee of the Asbestos Textile Institute, was
27    specifically enlisted to study the subject of dust control. Discussions in this committee were
28    held many times regarding the dangers inherent in asbestos and the dangers, which arise from
                                                 '5
                               COMPLAINT FOR PERSONAL INJURY ASBESTOS
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1    the lack of control of dust, and such information was suppressed from public dissemination
2    from 1946 to a date unknown to Plaintiff CAROLYN WEIRICK at this time;
3           (c) Commencing in 1930 with the study of mine and mill workers at Asbestos and
4    Thetford Mines in Quebec, Canada, and the study of the workers at Raybestos-Manhattan
5    plants in Manheim and Charleston, South Carolina, Defendants, their "alternate entities", and
6    each of them, knew and pdssessed medical and scientific information of the connection
7    between the inhalation of asbestos fibers and asbestosis, which information was disseminated
8    through the Asbestos Textile Institute and other industry organizations to all other Defendants,
 9   their "alternate entities", and each of them; herein. Between 1942 and 1950, the Defendants,
10   their "alternate entities", and each of them, failed to provide this information to consumers;
11          (d)    Defendants, their "alternate entities", and each of them, failed to warn Plaintiff
12   CAROLYN WEIRICK, her Mother, and others of the nature of Defendants' Products which
13   were dangerous when breathed and which could cause pathological effects without noticeable
14   trauma, despite the fact that Defendants, their "alternate entities", and each of them, possessed
15   knowledge and were under a duty to disclose that said products were dangerous .and a threat to
16   the health of persons coming into contact therewith;
17          (e)    Defendants, their "alternate entities", and each of them, failed to provide
18   Plaintiff CAROLYN WEIRICK and her Mother with information concerning adequate
19   protective masks and other equipment devised to be used when personally using, applying,
20   mixing, sawing, cutting, installing and sanding Defendants' Products, their "alternate entities",
21   and each of them, despite knowing that such protective measures were necessary, and that they
22   were under a duty to disclose that Defendants' Products were dangerous and would result in
23   injury to Plaintiff CAROLYN WEIRICK and others personally using, applying and installing
24   Defendants' Products;
25          (1)    Defendants, their "alternate entities", and each of them, knew and failed to
26   disclose that Plaintiff CAROLYN WEIRICK and anyone similarly situated, upon inhalation of
27   asbestos would, in time, have a substantial risk of developing irreversible conditions of
28   pneumoconiosis, asbestosis, mesothelioma and/or cancer;
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                             COMPLAINT FOR PERSONAL INJURY ASBESTOS
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      1               (g)     Defendants, their "alternate entities", and each of them, failed to provide
      2        information of the true nature of the hazards Defendants' Products and that exposure to said
      3        products would cause pathological effects without noticeable trauma to the public, including
      4        buyers, users, and physicians employed by Plaintiff CAROLYN WEIRICK so that said
      5        physicians could not examine, diagnose, and treat Plaintiff and others who were exposed to
      6        asbestos, despite the fact that Defendants, their "alternate entities", and each of them, were
      7        under a duty to so inform and said failure was misleading.
      8               30. Defendants, their "alternate entities", and each of them, and their officers,
      9        directors, and managing agents participated in, authorized, expressly and impliedly ratified,
     .10       and had full knowledge of, or should have known of, each of the acts set forth herein.
     11        Defendants, their 'alternate entities", and each of them, are liable for the oppressive and
     12        malicious acts of their "alternate entities", and each of them, and each Defendant's officers,
     13        directors, and managing agents participated in, iuthorized, expressly and impliedly ratified,
     14        and had full knowledge of, or should have known of, the acts of each of their "alternate
     15        entities" as set forth herein.
     16               31. The herein-described conduct of Defendants, their "alternate entities", and each
     17        of them, was and is willful, malicious, oppressive, outrageous, and in conscious disregard and
     18        indifference to the safety and health of "exposed persons," including Plaintiff CAROLYN
     19        WEIRICK, in that Defendants, and each of them, continued to manufacture, market and/or sell
     20        dangerous products known to cause severe, permanent injuries and death, despiie possessing
     21        knowledge of the: substantial hazards posed by use of Defendants' Products, in order to
     22        dontinue to profit financially therefrom. Defendants, their "alternate entities", and each of
     23        them, engaged in such conduct so despicable, contemptible, base, vile; miserable, wretched
     24        and loathsome as to be looked down upon and despised by ordinary people and justifies an
     25        award of punitive and exemplary damages pursuant to Civil Code section 3294. Plaintiff; for
     26        the sake of example and by way of punishing said Defendants, seeks punitive damages
     27        according to proof.
     28               32. Defendants, and each of them, engaged in conduct which was intended by
           I                                                 17       -



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:11 Defendants, and each of them, to cause injury to the Plaintiff, and despicable conduct which
2    was carried on by the Defendants with a wilful and conscious disregard of the rights or safety
3    of others, including Plaintiff CAROLYN WEIRICK.
4           33. Defendants, and each of them, engaged in the despicable conduct described
     herein that subjected persons, including Plaintiff CAROLYN WEIRICK, to cruel and unjust
 6   hardship in the form of severe, debilitating and fatal diseases like asbestosis, lung cancer and
7    mesothelioma, in conscious disregard of those persons' rights.
 8          34. As a direct and proximate result of such intentional conduct by Defendants, their
 9   "alternate entities", and each of them, Plaintiff CAROLYN WEIRICK sustained the injuries
10   and damages alleged herein.
11          WHEREFORE, Plaintiff prays for judgment against Defendants, and their "alternate
12   entities", and each of them, as hereinafter set forth.
13                 Plaintiff CAROLYN WEIRICK:
14                 1.     For Plaintiffs general damages according to proof;
15                 2.     For Plaintiffs loss of income, wages, and earning potential according to
16                        proof;
17                 3      For Plaintiffs medical and related expenses according to proof;
18                 4.     For Plaintiffs cost of suit herein;
19                 5.     For exemplary or.punitive damages according to proof;
20                 6.     For such other and further relief as the Court may deem just and proper,
21                         including costs and prejudgment interest as provided in C.C.P. section 998,
22                        C.C.P. section 1032, and related i visions of law.
23   DATED: April 4, 2017                                                        BARTLETT, P. C.
24

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                                                               Bartlett

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                                                              wi
                                                              fo9Plaintiff
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                              COMPLAINT FOR PERSONAL INJURY ASBESTOS  -
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1                                     DEMAND FOR        JURY TRIAL
2    Plaintiff hereby demands trial by jury as to all issues so triable.


4    DATED: Apr11 4,2017                  SIMON                TPANATLER BARTLETT, P.C.


                                         By:              wi~;v I
                                                 Jethfefl1. Bartitt
                                                 LeKaji
                                                 A*jneYs for Plaintiff

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                              COMPLAINT FOR PERSONAL INJURY ASBESTOS-
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    1                                                 flHIIiIT"A"

    2          Plaintiff CAROLYN WEIRICK's exposure to asbestos and asbestos-containing products
        occurred at various locations including, but not limited to:
        Location of Exposure           Job Title                       .       Exposure Date(s)
 s Various Residential Sites      Personal use of talcum powder products; Approximately
   including, but not limited to, Mother Leilani Weirick use of talcum 1958-2000's
                                                  -                 -



 6 Palo Alto, California;         powder products on herself and Plaintiff
   Riverside, California;
   Altadena, California;
-
   Pasadena, California; San
 8 Marino, California; San
   Francisco, California;
   Monfrose, California;
   Washington, D.C.; Portland,
10 Oregon; San Gabriel,
   California
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                                  COMPLAINT FOR PERSONAL INJuRY ASBESTOS   -
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 1         .                                                       EXHTHJT "B"
2                 Plaintiff CAROLYN WEIRICK's exposure to Defendants' Products caused
 3   severe and permanent injury to Plaintiff CAROLYN WEIRICK including, but not limited to,
4    mesothelioma. Plaintiff was diagnosed with mesothelioma on or about February 21,2017.
 5                        .




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                                       COMPLAINT FOR PERSONAL INJURY ASBESTOS    -
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Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 33 of 75 Page ID #:44
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 34 of 75 Page ID #:45
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 35 of 75 Page ID #:46
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 36 of 75 Page ID #:47
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 37 of 75 Page ID #:48
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 38 of 75 Page ID #:49
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 39 of 75 Page ID #:50
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 40 of 75 Page ID #:51
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 41 of 75 Page ID #:52
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 42 of 75 Page ID #:53
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 43 of 75 Page ID #:54
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 44 of 75 Page ID #:55
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 45 of 75 Page ID #:56
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 46 of 75 Page ID #:57
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Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 48 of 75 Page ID #:59
       Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 49 of 75 Page ID #:60
   TORNEY OR PARTY WIThOUT ATTORNEY (NaJr4 Stalenumbãk
                                                 Bar. wWad*ez*                                                     FOR COURT USE ONLY
  LEAR C. KAGAN                                    SEW: 283295
  SIMON GREENSTONE PANATIER BARTLETI'                                                                              ED COPY
  3780 Kiltoy Airport Way, Ste. 540, Long Beach, CA 90806                                                          -PILED
     TELEPHONE NO.: 562-590-3400                FAX No.: 562-590-3412                                              of California
                                                                                                                   s Annolce
    ERIOR COURT OF CAUFORNIA, COUNTY OP LOS A
     STREETADDRESS: 111 NO1CHHILL STREET                                                                 APR. 042017
     MAJLINOADORESS: 111 NO1tFH HILL STREET
    CITY AND EP CODE: LOS ANGELES, 90012                                                                CvteE. Ixeoutive stllcalCl*k
                                                                                                        nSItS Rokinsol, øepnty
  CASE NAME: CAROLYN WEIRICK vs. BRENNTAG NORTH AMERICA, INC., et

                                                                                                       GAUE      nEll:
     CIVIL CASE COVER SHEET                                 Complex Case Designation
[XII  Unlimited
      (Amount
                               Li
                                Limited
                                                         0    Counter       U         Joinder
                                                                                                                       BC 6 .5642 5
                           .    (Amount
      demanded                  demanded is           Filed with first appearance by defendant      I
      exceeds $25,000)          $25,000 or less)           (Cal. Rules of Court, rule 3.402)             DEPT:
                                   Items I—B below must be completed (see Instructions on page 2).
1. Check one box below for the case type that best describes this case:
   Auto Tort                                         Contract                                   Provisionally Complex Civil Litigation
   Li    Auto                                            Li Breath of contract/warranty (06) (Cal. Rules of Court. rules 3.400-t403)
   Li    Uninsured mot&lst (46)                          Li Rule 3.740 collections (09)       Li      Antitrust/Trade regulation (03)
   Other PIIPDIWD (Personal Injury/Property              Li Other collections (09)            Li      Construction defect (10)
   Damage/Wrongful Death) Tort                           Li Insurance coverage (18)           Li      Mass   tort (40)
   (XI   Asbestos O4)                                    Li Other contract (37)       -
                                                                                              [I      Securities   litigation (28)
         Product liability (24)                      Real Property                            Li      EnvlronmentauToxic tort (30)
   Li    Medics malpractice (45)                         Li Eminent domalnilnverse            Li      insurance coveraje claims arising from the
   Li    Other PI/PD/WD (23)                                condemnation (14)                         above listed provisionally complex case.
    Non-PIIPDIWD (Other) Tort                            Li Wrongful eviction (33)                    types (41)
   EI    Business tort/unfair business practice (07)     Li Other real property (26)            Enforcement of Judgment
   U]    Civil rights (08)                           Unlawful  Detalner                        EI     Enforcement of judgment (20)
   U]    Defamation (13)                                 Li Commercial (31)                     MIscellaneous Civil complaint
   Li    Fraud (16)                          .           Li Residential (32)                   Li     RICO (27)
   U]    InteDectual property (19)               .   .   Li Drugs (35)                         Li     Other complaint (not specified above) (42)
   Li    Professional neghgence (25)                 Judicial RevIew                            Miscellaneous Civil Petition
   Li    Other non-Pl/PDIWD tort (35)                    Li Asset forfeiture (05)
                                                                                               Li     Partnership and corporate governance (21)
    Employment                                           Li Petition re: arbitration award (11)
                                                                                               [)     Other petition (not specified above) (43)
   UI    Wrongful termInation (36)                          WrIt of mandate (02)

2. This case "Is            L3J Is not complex under rule 3.400 of the California Rules of Court. lithe case Is complex, mark the
                                   .

    factors requirIng exceptIonal judicial management:
             Large number of separately represented parties       d.       Li
                                                                       LErge number of witnesses
        [K]  Extensive motion practice raIsing difficult or novel e.       Li
                                                                       Coordination with related actions pending In one or more courts
             Issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
        [XI  Substantial amount of documentary evidence           I.    Li
                                                                       Substantial postjudgment judicial supervision
3. RemedIes sought (check all that apply): a.M monetary               b.Li nonmonetaiy declaratory
                                                                                        nj unctive relief c.                               punitive
4. Number of causes of action (specify): TWO (2)
5. This case          Li
                      is               [XI
                                is not a class action suit
6. If there are any known related cases, file and serve a notice of related casecYotyçd.OI5.)
Date: APRIL 4, 2017                                                              .




   • Plaintiff must file this cover sheet with the first paper filed in the action or proce4Ing (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and institutions Code). (Cal.'Rules of Court rule 3.220.) Failure to file may result
      in sanctions.
   • Ale this cover sheet in addition to any cover sheet required by local court rule.
   • If this case Is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
   • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.            - -



 Fern. Adopted for Mandalory Ike                         CIVIL CASE COVER SHEET
   Juddal Coimafi of Calronda
   cr&oio iflev. July 1.20071
                                                                                                                              WtWw Dec 5
        Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 50 of 75 Page ID #:61

                                                                                                                                        CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) In a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet In item 1• you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in Item 1,
check the more specific one. If the case has multiple causes of action, check the box that best Indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type In Item 1 are provided below. A cover
sheet must be filed only with your Initial paper. Failure to file a cover sheet with the first paper filed In a civil case may subject a party,
Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court
To Parties In Rule 3.740 CollectIons Cases. A"collections case" under rule 3.740 Is defined as an action for recovery of money
owed In a sum stated to be certain that Is not more than $25,000, exclusive of Interest and attorney's fees, arising from a transaction In
which property, services, or money was acquired on credit A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment The Identification of a case as a rule 3.740 collections case on thiS form means that It will be exempt from the general
tlme-for.servlce requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for servIce and obtaining a judgment In rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case Is complex. If a plaintiff believes the casels complex under rule 3.400 of the California Rules of Court this must be IndIcated by
completing the appropriate boxes In Items I and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of Its first appearance a joinder In the
plaintiffs designation, a counter.deslgnation that the case Is not complex, or, If the plaintiff has made no designation, a designation that
the case Is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rentatltease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist (48) (ii the                         Contract (not unlawful detainer              Construction Detect (10)
         case involves an uninsured                              or wrongful eviction)                    Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach-Seller                  Securities LitigatIon (28)
         arbitration, check this item                        Plaintiff (not fraud or negligence)          EnvironmentajJloxic Tort (30)
         instead of Auto)                                Negligent Breach of Contract!                    Insurance Coverage Claims
Other Pl/PD/WD (Personal Inlury!                              Warranty                                     (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                 case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open            Enforcement of Judgment
       Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                      County)
                                                              Case                                         Confession of Judgment (non.
                                                     Insurance Coverage (not provisionally                      domestic relations)
                                                         complex) (18)                                     Sister State Judgment
                                                         Auto Subrogation                                   Administrative Agency Award
                                                        Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                   Petition/Certification of Entry of
          Other Professional Health Care                Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                            Other Enforcement of Judgment
       Other PI/PD/WD (23)                       Real Property                                                  Case
          Premises Liability (e.g., slip             Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                               Condemnation (14)                               RICO (27)
          Intentional Body lnjury/PD/WD              Wrongful Eviction (33)                             Other Complaint (not specified
                (e.g., assault, vandalism)                                                                 above) (42)
                                                     Other Real Property (e.á., quiet title) (26)
           Intentional Infliction of                    Writ of Possession of Real Property                Declaratory Relief Only
                Emotional Distress                                                                         Injunctive Relief Only (non.
                                                         Mortgage Foreclosure
           Negligent infliction of                                                                              harassment)
                                                         Quiet Title
                 Emotional Distress                      Other Real Property (not eminent                  Mechanics Lien
        Other PI/PDIWD                                   domain, landloraltenant, or                       Other Commercial Complaint
Non-PilPDlWD (Other) Tort                                foreclosure)                                           Case (non-tort/non.cornplex)
   Business Tort/Unfair Business                 Unlawful Detalner                                         Other Civil Complaint
       Practice (07)                                 Commercial (31)                                           (non.to#/non.cony,leiç)
   Civil Rights (e.g., discrimination,                                                               Miscellaneous Civil Petition
                                                    Residential (32)                                     Partnership and Corporate
           false arrest) (not civil                  Drugs (38) (if the case involves illegal
           harassment) (08)                                                                                  Governance (21)
                                                        drugs, check this item; otherwise,               Other Petition (not specified
       Defamation (e.g., slander, libel)                report as Commercial or Residential)
             (13)                                                                                            above) (43)
                                                 JudIcial Review                                             Civil Harassment
       Fraud (16)                                    Asset Forfeiture (05)
       Intellectual Property (19)                                                                            Workplace Violence
                                                     Petition Re: Aitjitration Award (1 1)                   Elder/Dependent Adult
       Professional Negligence (25)                  Writ of Mandate (02)                                         Abuse
           Legal Malpractice                             Writ-Administrative Mandamus                        Election Contest
           Other Professional Malpractice                Writ-Mandamus on Limited Court
               (not medical or legal)                                                                        Petition for Name Change
                                                             Case Mailer                                     Petition for Relief From Late
        Other Non-Pl/PD/WD Tort (35)                     Writ-Other Umited Court Case
Employment                                                                                                        Claim
                                                             Review                                          Other Civil Petition
   Wrongful Termination (36)                         Other Judicial Review (39)
   Other Employment (15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor

                                                     CIVIL CASE COVER SHEET
                                                                                      I..       I

     Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19'I- Page 51 of 75 Page ID #:62


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7             •   .   .
                              SL'!ERIOR COuRT 'oF mESTAn OF CXLZFCP_4Th
 S                                       e
                                     FOR. ThE COUtTY OF LOS ANGELES -
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10
           In re 32,5 Xnge1e5 Asbeatci         "   )         Ne. C 700000
11         Licization    General Orders
                              •                    )
                                                             FIP-37 AMn1D2:p
12     -
                                                             CENtRAL ORDER NO. 1

13

14             'The CQu2t 1 having conducted a hearing on its o'n motioa,

15         issues the orders as hereafter set forth.

16                IT IS HERE? QRDERED -that. all acUons currently pe'ndiSg and

17         hereafter fi.ed in' the above-entitled Court alleaing Dersonal

IB         injuy or wrongful death due toeostre to an asbestos-

19           ntaining product (hereafter "ls !'ge1es ksbes::-s bitiaion"

20         are determined to be. complex litigation within the meaning of

 21- California Rules of Court, Apoendix, Division. 1, Standards of
 22          diial Adrrinistratthn Reccmmened by the Judicial Council

 23         (hereafter ostaradards of Judicial Administration"), Sectior 19.

 36               IT IS flJRTHER ORtERED that all Los M%!s Asbestos

 25         ilitigation actions shall continue, to e filed in the central
            D4str1ét of; the above-entitld Court bot) before and after the

 -21        distribution of such cases into the Central Di'strict's
 I
a
 2B         independent Calendaring (".1/c11 ) courts.- The ertificate of.-
            assignment for each Los Angeles Asbestos Litgat1on case shall

                          -         -                  -1-    -

               cr--I
                            Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 52 of 75 Page ID #:63
                                             cctai the• following lanuae:                                                                                                •   ITlied      ii the Central Disc:.c:
                                •a

                                             Dursuan to                                                                 hmended ar,e:al Orñer I4o. 1 containe'J in the

                                    3        cer:eral.order file, File No. C                                                                                             00000 ."

                                    4 Dated:                                   •
                                                                                                                                                •                                    •




                                                                                                                                                                             BRUCE S. MItHEL
                        •                •••
                                    7                                                                                                                       Commissioner of. the Superior Court.
                                                                                                •




                                    9                                      •                                    •.•                 .                       •




                                io
                                11                                     •                                        ...                 .               .




            •                   12                             •                                                        •   .




                    •           13                             •                                                    ..                  •                                .       •           .•




                                    14                     •




                                    15                             •                                    .
                                                                                                                •




                •                   16                 •       •                                                    .




                                    17         •                                                                                            .




                                    12                                                                                                                                   •




    •                               19                         •                                                                                .




                            •       20                 •                   •                                                                                    ..




                        •           21                                     •                                                                        •




                                    22                                                                                                                                       .                    •




        •                       •    23            •               •               •                                        .




                                        24                                                                      .                                                                    .   .

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•                                       2'                                                                                      .   .                                •




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         Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 53 of 75 Page ID #:64

 SIORT TrftE   CAROLYN WEIRICK vs. BRENNTAG NORTH AMERICA, INC., ct CASE NUMBER
                                                                                                                                 BC6 56425
                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCA11ON
               (CER11FICATE OF GROUNDS.FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form Is required pursuant to Local Rule 2.3 In all new cIvil case filings In the Los Angeles Superior Court.



     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

     Step 2: In Column B, check the box for the type of action that best describes the natuèe of the casi

     Step 3: In Column c, circle the number which explains the reason for the court filing location you have
                  chosen.                      .        .           .   .
                                                                                      .




                                                        Reasons for                       Court FilIng Location (Column C)

  Cliss actions must be filed In the Stanley Mosk Courthouse, Central District.                 7. Location where petitioner resides.
  PermIssive filing In central district.                                                        B. Location wherein defendaritlrespondent functions wholly.
  Location where cause of action arose.                                                            Location where one or more of the parties reside.
  Mandatory personal Injury filing In North District.                                             Location of Labor Commissioner Office.
S. Location where performance required or defendant resides.                                      Mandatory filing location (Hub Cases unlawful detainer, limited
                                                                                                                                         -


                                                                                               non..coilection, limited collection, or personal injury).
6. LocatIon of property or permanently garaged vehicle:




                                  A                                                                   B                                                             C
                    Civil Case Cover Sheet                                                  Type of Action                                         Applicable Reasons.
                          Category No.                                                     (Check only one)                                         See Step 3 Above

                            Auto (22)              0 All 00 Motor Vehicle Personal Injury/Property Damageongful Death
                                                                                  .
                                                                                                                                                   1, 4, 11
   at
                    Uninsured Motorist (46)        0 All 10 PeFsonai Injury/Property DamageWongiul Death Uninsured Motorist-                       1, 4, 11

                                                   o A6070 Asbestos Property Damage                                                          .     1.11
                         Asbestos (04)
                                                   0A7221 Asbestos Personal lnjuryiVfrongful Death
                                                                              -
                                                                                                                                                   1,11
   et
   el 0
    2                 Product Liability (24)       0 A7260 Product Liability (not asbestos or to)ic/environmental)                                 i•      ,   ii
   0.

                                           -       0 A7210 Medical Malpractice Physicians & Surgeons
                                                                                           -                                                       1• 4. 11
   ft.             Medical Malpractice (45)
   —c
    Iv
                                                   o A7240 Other Professional Health Care Malpractice
                                                                                               .                                                   1 4.11
                                                                                                                                                       .


    C
                                                   D A7250 Premises Liability (e.g., sup and fail)
                         Othererson l                                                                                                              1 4 11
                         Injury   1                0 s37230 Intentional Bodily Injury/Property Damagemrongflil Death (e.g.,
                                                              assault, vandalism, etc.)                                                            1 4 11
   0 18                Damage V*onghil
                         Death (23)                     .   A1270 Intentional Infliction of Emotional Distress                                     1, 4, 11
                                                   0 A7220 Other Personal Injury/Property Damagemrongful Death                                     1• 4, 11




   LACiV 109 (Rev 2116)                            CIVIL CASE COVER SHEET ADDENDUM                                                               Local Rule 2.3
   LASCApproved03.04                                  AND STATEMENT OF LQCATION                                                                    Page 1 of 4
            Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 54 of 75 Page ID #:65

IsHourne
       CAROLYN           WEIR.ICK vs. BRBNNTAG NORTH AMERICA, INC., et I CASE NUMB9
laL                      .
                               .                                                                I                                     __________

                              A                                                           B                                 .            C Applicable
                   Civil Case Cover Sheet                                           Type of Action                                    Reasons See Step 3
                                                                                                                                                  -
                         Category No.                                              (Check only one)                                         Above

                     BusIness Tort (07)        .
                                                    0 A6029 Other Commercial/BusIness Ton (not freud(breach of contract)                2.3
                                                              ,


       lt

                      Civil Rights (08)             0 A6005 Civil RIghts/DIscrImInatIon                                               i •2,3
      2
                      DefamatIon (13)               0 A6010 Defamation (slander/libel)                                                1,2, 3
      re's
      -    C             Fraud(16)                  0 A6013 Fraud(nocontract)                                                         1,2,3
      IT

                                                   0 A6017 Legal Malpractice                                                          1,2,3
      • c       ProfessIonal Negligence (25)
      C                                            0 A6050 Other Professional Malpractice (not medical or legal)        .             I, 2, 3
      cia

                         Other (35).               0 A6025 Other Non-Personal Injury/Property Damage tort                             I• 2, 3

       —         Wongful Termination (36)          0 A6037 Wrongful Termination                                                       i, 2, 3
       E
                                                   0 A6024 Other Employment Complaint Case                                            1,2, 3
                  Other Employment (15)
                                                   0 A6109 LaborCommlsslonerAppeals                                                   ID

                                                   0 A6004 Breach of Rental/Lease Contract (not unlawful detalner or wrongful
                                                             eviction)                                                                  5
                Breach of Contract/Warranty
                                                   o A6008 ContractMarranty Breach -Seller Plaintiff (no fraud/negligence)            2,5
                            (06)
                      (not Insurance)                                                                                                 1, 2, 5
                                                   0 A6019 Negligent Breach of Contractmananty (no fraud)
                                                   o A6028 Other Breach of Contractrranty, (not Ilaud or negligence)                  1,2,5

       Z                                           0 A6002 Collections Case-Seller PlaIntiff                                    : 5, 6, 11
                      Coflectlons (09)
       C                                           0 A6012 Other PromissoryNotelCollectlonsCase
       0                                                                                                  .                           5.11
       0
                                                   0 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5.6, 11
                                                             Purchased_onorafter January_1._2014)
                  Insurance Coverage (18)          0 AeGis Insurance Coverage (not complex)               .                           1, 2, 5,8

                                                   o A6009 Contractual Fraud                                                          11 2,3.5
                    Other Contract (37)            0 A6031 Tortious Interference                                                        2, 3,5
                                                   o A6027 Other Contract Dlspute(not breach/insurance/fraud(negligence)              1• 2, 3,8, 9

                  Eminent Domain/Inverse
                    CondemnatIon (14)              0 A7300 Eminent Domain/Condemnation                Number of parcels______           6

           a       Wrongful Evlctlpn (33)          0 A6023 Wrongful EvIction Case                                                     2,6

                                                   o A6018 Mortgage Foreclosure                                                       2,6
       QZ         Other Real Property (26)         0 A6032 Quiet Title                                                                2,6
                                                   o A6060 Other Real Property (not eminent domain, iandlord/tenant, foreclosure)     2,6

                Unlawful Detainer-Commercial
       •-                   (3t)                   o A6021 Unlawful Detalner-Commercial (not drugs or wrongful eviction)              6,11

                Unlawful Detainer-Residentlal
                            (32)                   0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
       '5           Unlawful Detaln r-
                   Post-Foreclosuree(34)           o A6020F Unlawful Detalner-Post-Foreciosure                      .                 Z6.11
                Unlawful Detainer-Drugs (38)       0 A6022 Unlawful Detalner-Drugs                                                    2, 6, 11


  LACIV 109 (Rev 2116)                             CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
  LASCAppro)ed03-04                                   AND STATEMENT OF LOCA11ON                                                       Page 2 of 4
               Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 55 of 75 Page ID #:66

I   9logTlTftt      CAROLYN WEIRICK W. BRENNTAO NORT}IA1V1EJUCA, INC., et                               I CANUMB8


                                  •A                                                          B                                    C Applicable
                        Civil Case Cover Sheet                                           Type of Action                   .     Reasons See Step 3
                                                                                                                                             -
                              Category No.                                              (Check only one)                              Above

                         Asset ForfeIture (05)         0 A6108 Asset Forfeiture Case                                            2, 3, 6

                      Petition re Aibitration (11)     0 A6115 Petition to CompeilConfirmlVaáteArbitratlon                      2.5

       &                                               0 A6151 Writ Administrative Mandamus
                                                                       -
                                                                                                                                2.6
                         Writ of Mandate (02)          Ci A6152 Writ Mandamus on Limited Court Case Matter
                                                                       -
                                                                                                                                2
       'C
       -1                                              ci A6153 Writ Other Limited Court Case Review
                                                                       -
                                                                                                                                2

                      Other Judicial Review (39)       0 A6150 Other Writ IJudiclai Review          .
                                                                                                                                2, 8

                    Antitrust/Trade Regulation (03)    0 A6003 Antitrust/Trade Regulation                                       1, 2, 8
        C
           0                                                                                            -


        C,             Construction Defect (10)        0 A6007 Construction Defect                  .
                                                                                                                                1, 2, 3
                      Claims involving Mass Tort
                                                           A6006 Claims irtvoiving Mass Tort                                    i, 2,8
        a                        (40)
           E
       3               SecurIties LitIgation (28)      0 A6035 Securities Litigation Case                                       1, 2.8
       a
        .5
        =                     ToxIc Tort
       .2                 Environmental (30)           o   A6036 Toxic Tort/Environmental                                       1. 2.3.8
        I,

                     insurance Coverage Claims
                       from Complex Case (41)          0 A6014 insurance Cdverige!Subrogation (complex case only)                   2,5, 8

                                                       o A6141 Sister State Judgment                                                5, 11
                                                       o   A6160 Abstract of Judgment                                           2.6
      E E                    Enforcement               0 A6107 Confession of Judgment (non-domestic relations)                  2,9
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                                                       0 A6140 Administrative Agency Award (not unpaid taxes)                   2.8
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      Lu 0                                             0 A6114 Petftion/Certiiicate for Entry of Judgment on Unpaid Tax         2,8
                                                       O A6112 Other Enforcement of Judgment Case                               2, 8, 9

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      ma
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                      (Not Specified Above) (42)
                                                       0 A6040 injunctive Relief Only (not domesticlharassment)                 2.8
                                                       0 A601 1 Other Commercial Complaint Case (non-tort!non.compiex)              2,8
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       =                                               0 A6123 Workplace Harassment                                                 3,9
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                        Specified Above) (43)          0 A6190 Election Contest
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           5                                           0 A6110 Petition for Change of Name/Change of Gender
                                                                                                                                2.7
                                                       o   A6170 Petition for Relief from Late Claim Law
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                                                       o   A6100 Other Civil Petition
                                                                                                                                2,9




    LAdy 109 (Rev 2/16)                  .            CIVIL CASE COVER SHEET ADDENDUM                                         Local Ruie 2.3
    LASCApproved03-04                                    AND STATEMENT OF LOCA11ON                                              Page3of4
          Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 56 of 75 Page ID #:67

 SHORT TIRE   CAROLYN WEIRICK vs. BRENNTAG NORTH AMERICA, INC.,                          c   NME9
 etaL


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).

                                                                     ADDRES&
   REASON:
                           .                                         818 W. 7TH STREET
        1.02.03.04.05.06.07. 08.0 9.010.11.


   arT:                        .   .   .    STATE   .   ZIP CODE
   LOS ANGELES                             CA           90017

Step 5: CertificatIon of Assignment: I certify that this case is properly filed in the CENT]                             ________   District of
           the Superior Court of California, County of Los Angeles (Code Civ. Proc., §392 et                             Rule 2.3(a)(1)(E)J.




  Dated: APRIL4, 2017




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN                                            TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
            Original Complaint or Petition.
            If filing a Complaint, a completed Summons form for issuance by the Clerk.
            Civil Case Cover Sheet, Judicial Council form CM-01 0.

            CMI Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            02/16).
            Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payrñents.

            A signed order appointing the Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

            Additional copies of documents to be conformed by the Clerk. Copies of the cover Sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




  LACiV 109 (Rev 2116)     .   .
                                           CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
  LAscApprovedo3-04                .          AND STATEMENT OF LOCATION                                                    Page4of4
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                             •        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                           ....NOTICE OF CASE ASSIGNMENT UNLIM ED Cl IL CASE (NON-CLASS AcrioN)
                                                                  -


                                                                          'A 5      4 25
                              THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
   Your case is assigned for all purposes to the judge indicated below. There is more information on the reverse side of this form.

        ASSIGNED JUDGE                   DEPT          ROOM           -   ASSIGNED JUDGE                        DEPT    ROOM
        Hon. Debre K. Weintraub             I              534            Hon. Elizabeth Allen White             48       506

        Hon. Barbara A. Meters              12             636            Hon. Deirdre Hill       .              49          509

        Hon. Terry A. Green                 14             300            Hon. Teresa A. Beaudet                 50          508
        Hon. Richard Fruln                  15             307            Hon. Michael J. Raphael                51          511
        Hon. Rita Miller                                   306            Hon. Susan Bryant-Deason               52          510

        Mon. Richard E. RIco                               309            Hon. Howard L. Hahn                    53          513
        lion. Stephanie Bowlck                             311            Hon. Ernest M. Hiroshige               54          512

        lion. Dalila Corral Lyons      E
                                       20                  310            Hon. Malcolm H. Mackey                 55          515

        Hon. Robert I. Hess                 24             314            Hon. Michael Johnson                   56          514

        Hon. Yvette M. Palazuelos           28             318            Hon. John P. Doyle           .         58          516

         Hon. Barbara Scheper                30            400            Hon. Gregory ICeosian                  61          732

         Hon. Samantha Jessner               31            407            Hon. Michael 1. Stern                  62      .   600

         Hon. Daniel S. Murphy               32            406            Hon. Mark Mooney                       68          617

         Hon. Michael P. Linrield            34            408             Hon. William F. Fahey                 69          621

         lion. Gregory Alarcon               36            410             Hon. Monica Bachner                   71          729

         Hon. Marc Marniaro                  37             413            Hon. Ruth Ann Kwan                    72          731

         Hon. Maureen Dully-Lewis            38             412            Hon. Rafael Ongkeko                   73          733

         Hon. Elizabeth Feller               39             415            Hon. Teresa Sanchez-Gordon            74          735

         Hon. David Sotelo                   40             414            Hon. Gail Riman Feuer           -.   a

         Hon. Holly IL Kendig                42             416

         Hon. Mel Red Recana                 45             529
                                                                      (    Hon. Steveisj,JjgifiMiI
                                                                                       Complex,.—
                                                                                                            I
_____
          Han.Frederick C. Shaller                          500              i!2!!.
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                                                                                     is en :
          Hon. Randolph Hammock               47            507
                                                                           Corn;
                                                                                            a
                                                                                              on
                                                                                                                             CCW
                                                                      -




*Complex

All non-class action cases designated as provisionally complex are forwarded to the Supervising Judge of the Complex Litigation Program
located in the Central Civil West Courthouse (600 S. Commonwealth Ave., Los Angeles 90005), for complex/non-complex determination
pursuant to Local Rule 3.3(k). This procedure is for the purpose of assessing whether or not the casc is complex within the meaning of
California Rules of Court, rule 3.400. Depending on the outcome of that assessment, the case, may be rcassigncd to one of the judges of (lie
Complex Litigation Program or reassigned randomly to a court In the Central District.
                                                                                          •




Given to the Plaintiff/Cross.Complainant/Attorncy of Record on                            SHERRI H. CARTER, Ea.vcutiv.e Officer/Clerk

                                                                                              By ________________________          Deputy Clerk

LACIV CCH 190 (Rev 12118)                          -   NOTICE OF CASE ASSIGNMENT                -                                   Page i of 2
                                                                                                                             .      ..   .

   LASCApproved 05.08         •                        • UNLIMITED IVIL CASE.                          ..
                                                                                                                                             .   .
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                               INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES


The following critical provisions of the Chapter Three Rules, as applicable in theCentral District, are summarized for your assistance.

APPLICATION

The Chapter Three Rules were effective ianuary I, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES

The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
judge, or if a party has not yet appeired, within 15 days of the first appearance.

TIME STANDARDS

Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is
filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

 A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint.
 Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
 witnesses.

 FINAL STATUS CONFERENCE

 The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all motions
 in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
 instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days before this conference,
 counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the case to be read to
 the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.



 The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
 time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if appropriate on
 counsel for the party.

 This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore not a
 guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and compliance with the
 actual Chapter Rules is absolutely imperative.




  LACIVCCH 190 (Rev.12116)           .              -   NOTICE OF CASE ASSIGNMENT             -                                Page 2o12
     LASC Approved 05-08                                  UNLIMITED CIVIL CASE
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                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County. of Cos Angeles         voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association
Litigation Section
                               These stipulations are meant to encourage cooperation
Los Angeles County             between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

   UI!     to
                                  The following organizations endorse the goal of
Consumer Attorneys
Association of Los Angeles
                               promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntaiy way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               *Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel

                                         • Los Angeles County Bar Association
                                          Labor and Employment Law Section*
          -4
Association of
Business Trial Lawyers
                                   •Consumer Attorneys Association of Los Angeles*


                                        •Southern California Defense Counsel•


                                        *Association of Business Trial Lawyers*
California Employment
Lawyers Association
                                    *California Employment Lawyers Association*

   LACIV 230 (NEW)
   LASC Approved 4-11
   For Optional Use
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    NAME MD MDESS OP ATTOWEY OR PARTY V.1flCUT ATTORZI2t       -                STATEBAMPROAM                       Rasand IE afl Ra Sisap
                                                                   --




              TELEPHONE NO.:                                       FAX NO. (OptionS):
     E-MAIL ADDRESS (Onlimmfl




I                      STIPULATION               —   DISCOVERY RESOLUTION                                   I                                I
          This stipulation is intended to provide a fast and Informal resolution of discovery issues
          through limited paperwork and an lnformal conference with the Court to aid in the
          resolution of the Issues.                                                                             -




          The parties agree that:                 -   -                             -
                                                                                                -




                Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
                the moving party first makes a written request for an Informal Discovery Conference pursuant
                to the terms of this stipulation.     I                                             -




                At the Informal Discovery Conference the Court will consider the dispute presented by parties
                and determine whether it can be resolved informally. Nothing set forth herein will preclude a
                party from making a record at the conclusion of an Informal Discovery Conference, either
                orally or in writing.

                Following a reasonible and good faith attempt at an informal resolution of each issue to be
                presented, a party may request an Informal Discovery Conference pursuant to the foliowing
                procedures:               -                -                                            -




                     a. The party requesting the Informal Discovery Conference will:

                                File a Request for Informal Discovery Conference with the clerk's office on the
                                approved form (copy attached) and deliver a courtesy, conformed copy to the
                                assigned department;

                                Include a brief summary of the dispute and specify the relief requested; and

                                Serve the opposing party pursuant to any authorized or agreed method of service
                                that ensures that the opposing party receives the Request for Informal Discovery
                                Conference no later than the next court day following the filing.

                     b. Any Answer to a Request for Informal Discovery Conference must:

                                Also be filed on the approved form (copy attached);

                        ii.    Include a brief summary of why the requested relief should be denied;
          LAscAppàeio4lii                       STIPULATION DISCOVERY RESOLUTION
                                                                         —

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                                                                                          -                                      Pagelof3
Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 61 of 75 Page ID #:72

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                  Be filed within two (2) court days of receipt of the Request; and

                  Be served on the opposing party pursuant to any authorized or agreed upon
                  method of service that ensures that the opposing party receives the Answer no
                  later than the next court day following the filing.

   C. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
      be accepted.

          If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the filing of the Request, then it shall be deemed to have
          been denied. If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference has been granted or denied and, if granted,
          the date and time of the Informal Discovery Conference, which must be within twenty (20)
          days of the filing of the Request for Informal Discovery Conference.

          If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

   If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court haying acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request Is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

   It is the understanding and intent of the parties that this stipulation shall, for each discovery
   dispute to which it applies, constitute a writing merflorializing a "specific later date to which
   the propounding [or demanding or requesting] party and the responding party have agreed in
   writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
   2033.290(c).

   Nothing herein will preclude any party from applying ex porte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

   Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

   References to "dayso mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



           led 04111        STIPULATION DISCOVERY RESOLUTION
                                            -
           Use                                                                            Page2of3
 Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 62 of 75 Page ID #:73


WIT11nE                                                                 CASEWJMEER:




The following parties stipulate:

Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR PLAIN11FF)
Date:

              -   (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEFENDANT)
Date:

          •       (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEFENDANT)
Date:
                  (TYPE OR PRINT NAME)                               (ATTORNEY FOR DEFENDANT)
Date:

                  (TYPE OR PRINT NAME)                        (ATTORNEY FOR


Date:

                  (TYPE OR PRINT NAME)                        (ATTORNEY FOR
Date:
 •                (TYPE OR PRINT NAME)                        (ATTORNEY FOR




     uu VMWI
LASC Approved 04111              STIPULATION   -   DISCOVERY RESOLUTION
ForOptfonaluse                                                                                   Page3of3
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IWIE *30 *OE35 OP ATTORnEY OR P*RIY WITHOUT ATTORnEV.
                                                                    I
                                                                        WAMMNUMM
                                                                                     I             -     "




            ItLEPHONE NO.:                              FAX NO. (Optional):
 E-MAIL AODRESS (Oullonin:




           STIPULATION — EARLY ORGANIZATIONAL MEETING

       This stipulation Is Intended to encourage cooperation among the parties at an early stage In
       the litigation and to assist the parties In efficient case resolution.
       The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
           videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
           whether there can be agreement on the MIowing-
                  Are motions to challenge the pleadings necessary? If the issue can be resolved by
                  amendment as of right, or if the Court would allow leave to amend, could an amended
                  complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                  agree to work through pleading issues so that a demurrer need only raise issues they cannot
                  resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                  would some other type of motion be preferable? Could a voluntary targeted exchange of
                  documents or information by any party cure an uncertainty in the pleadings?

                  Initial mutual exchanges of documents at the acoren of the litigation. (For example, In an
                  employment case,.. the employment records, personnel file and documents relating to the
                  conduct in question could be considered "core" In a personal injury case, an incident or
                  police report, medical records, and repair or maintenance records could be considered
                  "core.');

                  Exchange of names and contact Information of witnesses;

                  Any insUrance agreement that may be available to satisfy part or all of a judgment, or to
                  indemnify or reimburse for payments made to satisfy a judgment;

                  Exchange of any other information that might be helpful to facilitate understanding, handling,
                  or resolution of the case in a manner that preserves objections or privileges by agreement;

                  Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such Issues can be presented to the Court;

                  Whether or when the case should be scheduled with a êettlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as

       LAScApórved 04111'             STIPULATION — EARLY ORGANIZATIONAL MEETING
       For Optional Use                                                                                  Page 1 of 2
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SHRT ImE:                                                                      CASE MiMER




            discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
            complaint;

            Computation of damages, including documents, not privileged or protected from disclosure, on
            which such computation is based;

            Whether the case is suitable for the Expedited Jury Trial procedures (see information at
            www.Iacou,torq under "Clvi? and then under "General lnfomtatlon").
2.          The time for a defending party to respond to a complaint or cross-complaint will be extended
            to                         for the complaint, and   _______________________   for the cross-
                     (INSERT DATE)                                       (INSERT DATE)
            complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
            and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
            been found by the Civil Supervising Judge due to the case management benefits provided by
            this Stipulation. A copy of the General Order can be found at www.lacouit.orq under "Clvii,
            click on "General Info,mauon°, then click on 0 Voluntasy Efficient Litigation StipulatIons".

            The parties will prepare a joint report tided "Joint Status Report Pursuant to Initial Conference
            and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
            results of theIr meet and confer and advising the Court of any way it may assist the parties'
            efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
            the Case Management Conference statement, and file the documents when the CMC
            statement is due.

            References to "days" mean calendar days, unless otherwise noted. If the date for performing
            any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
            for performing that act shall be extended to the next Court day
The following parties stipulate:
Date:

               (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                  .                   (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)             ..
                                                                   (ATTORNEY FOR_________________
Date:

               (TYPE OR PRINT NAME)                                (ATTORNEY FOR_________________
Date:

               (TYPE OR PRINT NAME)                                (ATTORNEY FOR_________________

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LMC Approved 04111        STIPULATION      -   EARLY ORGANIZATIONAL MEETING                          Page2of2
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NMIEMDASURESS OP ATTOWISY OR PSRW Ydlfltlt ATTOWIE%                    STATE EM MJMSER                       Rnuv.d Ia atfl PEa Sl




         TELEPHONE NO.:                                  FAX NO. (Optimist):
 E-MAIL ADDRESS (Optional):
    AtTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                             -




PLAINTIFF:

DEFENDANT:


                     INFORMAL DISCOVERY CONFERENCE-
               (pursuant to the Discovery Resolution_Stipulation_of the Parties)
             This document relates to:
                  o    Request for Informal Discovery Conference
                  o    Answer to Request for Informal Discovery Conference
             Deadline for Court to decide on Request:                   (Insert date 10 calendar days following filing of
             the Reques.             -




             Deadline for Court to hold Informal Discovery Conference:                                          (Insert date 20 calendar
             days (allowing filIng of the Request).
             For a Request for Informal DIscovery Conference, briefly describe the nature of the
       -
             dIscovery dispute, Including the facts and legal arguments at Issue. For an Answer to
             Request for Informal Discovery Conference, briefly describe why the Court should deny
             the requested discovery, Including the facts and legal arguments at issue.




                                               INFORMAL DISCOVERY CONFERENCE
                                         (pursuant to the Discovery Resolution Stipulation of the parties)
    Case 2:19-cv-03036-CJC-JC Document 1-1 Filed 04/18/19 Page 66 of 75 Page ID #:77




           OF ATTORREYOR PMIYYaTHOUT ATTORNEY:                STATE SM NUNESR
                                                                                I   Ruavid S O,,W. PUs




                                                 FAX NO. (Oplfonal)




I        STIPULATION AND ORDER — MOTIONS IN LIMINE                              I                               .   I

    This stipulation is Intended to provide fast and Informal resolution of evidentiary
    issues through diligent efforts to define and discuss such Issues and limit paperwork.

    The parties agree that:
        At least       days before the final status conference, each party will provide all other
                     ____



        parties with a list containing a one paragraph explanation of each proposed motion in
        limine. Each one paragraph explanation must identify the substance of a single proposed
        motion in limine and the grounds for the proposed motion.

        The parties thereafter will meet and confer, either in person or via teleconference or
        videoconference, concerning all proposed motions in Iimine.. In that meet and confer, the
        parties will determine:

        a.. Whether the parties can stipulate to. any of the proposed motions. If the parties so
            stipulate, they may file a stipulation and proposed order with the Court.

        b. Whether any of the proposed motions can be briefed and submitted by means of a
           short joint statement of issues. For each motion which can be addressed by a short
           joint statement of issues, a short joint statement of issues must be filed with the Court
           10 days prior to the final status conference. Each side's portion of the short joint
           statement of issues may not exceed three pages. The parties will meet and confer to
           agree on a date and manner for exchanging the parties' respective portions of the
           short joint statement of issues and the process for filing the short joint statement of
           issues.

        All proposed motions in limine that are not either the subject of a stipulation or briefed via
        a short joint statement of issues will be briefed and filed in accordance with the California
        Rules of Court and the Los Angeles Superior Court Rules.




    LASC Approved 04111          STIPULATION AND ORDER — MOTIONS IN LIMINE
    For Optional Use
                                                                                                  Page 1 of 2
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mont inta                                                  CM! IOJMfl




The following parties stipulate:
Date:

            (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:

            (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                              )
            (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

            (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

            (TYPE OR PRINT NAME)                  (ATTORNEY FOR______________
Date:

            (TYPE OR PRINT NAME)                  (ATTORNEY FOR________________
Date:

            (TYPE OR PRINT NAME)                  (ATTORNEY FOR


THE COURT SO ORDERS.

  Date:
                                                           JUDICIAL OFFICER




LACIV 075 (new)
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                         Superior Court of California
                           County of Los Angeles




             ALTERNATIVE DISPUTE RESOLUTION (ADR)
                    INFORMATION PACKET


              The person who files a civil lawsuit (plaintiff) must include the ADR information
              Packet with the complaint when serving the defendant. Cross-complainants must
              serve the ADR Information Packet on any new parties named to the action
              together with the cross-complaint.

              There are a number of ways to resolve civil disputes without having to sue
              someone. These alternatives to a lawsuit are known as alternative dispute
              resolution (ADR).

              In ADR, trained, impartial persons decide disputes or help parties decide disputes
              themselves. These persons are called neutrals. For example, in mediations, the
              neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
              the court. Neutrals can help resolve disputes without having to go to court.




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Advantages of ADR
   • Often faster than going to trial
   • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
   • May permit more participation, allowing parties to have more èontrol over the outcome.
   • Allows for flexibility in choice of ADR processes and resolution of the dispute.
   • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to remedy.
   • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
       stress.

Disadvantages of ADR ADR may not be suitable for every dispute.
                          -



    • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
       jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
    • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
    • The neutral may charge a fee for his or.her services.
    • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.



The Most Common Types of ADR

    • Mediation

        In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

             •   Mediation is particuiarly effective when the parties have a continuing relationship, like
                 neighbors or business people. Mediation is also very effective where personal feelings are
                 getting in the way of a resolution. This is because mediatipn normally gives the parties a chance
                 to express their feelings and find out how the other sees things.

                 Mediation may not be effective when one party is unwilling to cooperate or compromise or
                 when one of the parties has a significant advantage in power over the other. Therefore, it may
                 not be a good choice if the parties have a history of abuse or victimization.




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           • Arbitration

               In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
               side and then decides the outcome of the dispute. Arbitration is typically less formal than a
               trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
               binding." Binding arbitration means the parties waive their right to a trial and agree to accept
               the arbitrators decision as final. Non-binding arbitration means that the parties are freeto
               request a trial if they reject the arbitrator's decision.

                Arbitration is best for cases where the parties want another person to decide the outcome of
                their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                also be appropriate for complex matters where the parties want a decision-maker who has
                training or experience in the subject matter of the dispute.



                Mandatory Settlement Conference (MSC)

                Settlement Conferences are appropriate In any case where settlement is an option.
                Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                time exclusively to preside over the MSC. The judge does not make a decision in the case but
                assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                settlement.

                The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                charge and staffed by experienced sitting civil judges who devote their time exclusively to
                presiding over MSCs. The judges participating in the judicial MSC program and their locations
                are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                at http://www.lacourt.org]. This program is available in general jurisdiction cases with
                represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                eve of trial by the personal injury master calendar courts In the Stanley Mosk Courthouse or the
                asbestos calendar court in CCW.

                In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                the program. Further, all parties must complete the information requested in the Settlement
                Conference Intake Form and email the completed form to mscdept18@lacourt.org.




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Additional Information

To locate a dispute resolution prograhi or neutral in your community:

   •    Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
        Center toll free at 800-952-5210, or;
   •    Contact the local bar association (http://www.lacba.org/) or;
   •    Look in a telephone directory or search online for "mediators; or "arbitrators."

There may be a charge for services provided by private arbitrators and mediators.



A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspx#19



To request information about, or assistance with, dispute resolution, call the number listed below. 0ry0u may
èall a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http://css.lacounty.gov/ørograms/dispute-resolution-program-dro/




                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




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                                            PRELIMINARY FACT SHEET
                                         (PERSONAL INJURY COMPLAINT)

                BACKGROUND INFORMATION

      Name: Carolyn Una Weirick

      Address: 536 Dobbins Drive                   City: San Gabriel                             State:   CA

      Number of years at present address: 12                Number pf years living in the current state:__________

      Date ofBirth: December 13, 1958

      Based on the currnt facts, do p1aintifls) intend on filing a motion for preference?

            X     Yes   _______   No   ______   Do Not Know

      Have you received, or have you applied for, Medicare benefits of Social Security Disability benefits?

                Yes     _______   No

      Have you ever resided in California? X         Yes            No. If YES, provide cities in California where
      you resided and the dates you resided in each city.                                    -




      City       Palo Alto, CA                                            Dates 1958-1959
      City       Riverside, CA                                            Dates 1959
      City       Altadena, CA                                             Dates 1960-1961
      City       Pasadena, CA                                             Dates 1962-1970
      City        San Marino, CA                                          Dates 1970-1976
      City       Eugene, OR                                               Dates 1976-1980 (college: returning
                                                                          home for breaks and summers to San
                                                                          Marino, CA)
      City       San Francisco, CA                                        Dates 1980-1983
      City       Washinaton DC                                            Dates 1983-1987
      City       Portland, OR                                             Dates 1987-2000
      City       San Marino, CA                                           Dates 2000-2002
      City       Montrose, CA                                             Dates 2002-2005
      City       San Gabriel, Ca                                          Dates 2005 Dresent
                                                                                       -




      if.

      Date of First Claimed Asbestos Exposure: 1958 Date of Last Claimed Asbestos Exposure: 2016.

      For each asbestos-containing product to which you claim you were exposed, please provide the following
      information (fill in the chart):
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        Defendant           Product at      Date(s) of          Employer        Location of     Type of Exposure
                              Issue         Exposure                             Exposure             (Direct
                                                                                               Occupational, Para-
                                                                                                 Occupational or
                                                                                                Non-Occupational)
   BRENNTAG               Talc              Approx.           N/A              Palo Alto;      Direct Non-
   NORTH                  distributed for   1 S8-2O 16                         Riverside;      Occupational
                          use in talcum                                        Altadena;
   AMERICA, INC.          powder                                               Pasadena; San
   (sued individually     products                                             Marino;
   and as successor-in-                                                        Eugene, San
   interest to                                                                 Francisco;
                                                                               Washington
   MiNERAL                                                                     DC; Portland;
   PIGMENT                                                .                    Montrose; San
   SOLUTIONS, INC.-                                                            Gabriel
   and as successor-in-
   interest to
   WIUTFAKER
   CLARK &
   DANIELS,    INC.);



   BRENN'rAG              Talc              Approx.           N/A              Palo Alto;    Direct Non-
   SPECIALTIES,           distributed for   I S8-2O 16                         Riverside;    Occupational
                          use in talcum                                        Altadena;
   INC. fik/a             powder                      .                        Pasadena; San
   MINERAL                products                                             Marino;
   PIGMENT                                                                     Eugene, San
   SOLUTIONS, INC.                                                             Francisco;
                                                                               Washington
   (sued individually                                                          DC; Portland;
   and as successor-in-                                                        Montrose; San
   interest to                                                                 Gabriel
   WHIrFAXER
   CLARK &
   DANIELS,    INC.);



   CAL OAKS               Distribution of   Approx.           N/A              San Marino;     Direct Non-
   PHARMACY,              talcum powder     1910s-                             San Gabriel     Occupational
                          products,         2000s
   INC.;                  including
                          Johnson &
                          Johnson Baby
                          Powder                              ______________


   CHANEL, INC.;          Talcum            Approx.           N/A              Palo Alto;      Direct Non-
                          powder            1 58-2O 16                         Riverside;      Occupational and
                          products,                                            Altadena;       Bystander Non-
                          including                                            Pasadena; San   Occupational
                          Chanel No. 5                                         Marino; an
                          After Bath                                           Gabriel
                          Body Powder
   CYPRUS AMAX            Talc              Approx.           N/A              Palo Alto;      Direct Non-
   MINERALS               distributed for   1058-2016                          Riverside;      Occupational
                          use in talcum                                        Altadena;
   COMPANY (sued          powder                                               Pasadena; San
   individually, doing    products                                             Marino;
   business as, and as                                                         Eugene, San
   successor to                                                                Francisco;
                                                                               Washington
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       METROPOLITAN                                                               DC; Portland;
       TALC CO. INC. and                                                          Montrose; San
                                                                                  Gabriel
       CHARLES
       MATHIBU INC.
       and SIERRA TALC
       COMPANY and
       UNITED TALC
       COMPANY);                    ______         _____               _______            ___


       IMERYS TALC             Talc              Anprox.         N/A              Palo Alto;       Direct Non-
       AMERICA, INC.           distributed for   1 58-2O 16                       Riverside;       Occupational
                               use in talcum                                      Altadena;
       (sued individually      powder                                             Pasadena; San
       and as successor-in-    products                             .             Marino;
       interest to                                                                Eugene, San
       LUZENAC                                                                    Francisco;
                                                                                  Washington
       AMERICA, INC.                                   .                          DC; Portland;
       successor-in-interest                                                      Montrose; San
       to CYPRUS                                                                  Gabriel
       INDUSTRIAL
       MINERALS
       COMPANY);
                                       ____                __          _______              __


       JOHNSON &               Talcum            Anprox.         N/A              Palo Alto;      1Direct Non-
       JOHNSON;                powder            1 58-2O 16                       Riverside;       Occupational
                               products,                                          Altadena;
                               including                                          Pasadena; San
                               Johnson &           .                              Marino;
                               Johnson Baby                                       Eugene, San
                               Powder and                                         Francisco;
                               Shower-to-                                         Washington
                               Shower                                             DC; Portland;
                                                                                  Montrose; San
                                       ______    _____           __________
                                                                                  Gabriel         ______________


       JOHNSON &               Talcum            Approx.         N/A          .   Palo Alto;       Direct Non-
       JOHNSON                 powder            1958-2016                        Riverside;       Occupational
                               products,                                          Altadena;
       CONSUMER INC.,          including                                          Pasadena; San
       a subsidiary of         Johnson &                                          Marino;
       JOHNSON &               Johnson Baby                                       Eugene, San
       JOHNSON;                Powder and                                         Francisco;
                               Shower-to-                                         Washington
                               Shower                                             DC; Portland;
                                                                                  Montrose; San
                                       ______      ______        __________
                                                                                  Gabriel         _


       VALEANT         lcum                      Approx.    N/A                   San Marino;      Direct Non-
       PHARMACEUTIC   wder                       1 9102000s                       Eugene,San       Occupational
                      oducts,                                                     Francisco;
       ALS          [
                    includin!g             .                              .       Washington
       INTERNATIONA    owero-                                                     DC; Po land;
                       ower                                                       Montrose;
                                                                                         rt San
                                                           ___   ______________
                                                                                  Gabriel
       VALEANT         lcum                      Aporox.     N/A                  San Marino;      Direct Non-
                      wder
       PRARMACEUTIC products,                    1 910-2000s                      Eugene, San      Occupational
                                                                                  Francisco;
       ALS NORTH    including                                                     Washington
       AMERICA LLC; Shower-to-                                                    DC; Portland;
                    Shower                                                        Montrose; San
                                                                                  Gabriel
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           WHHTAKER                     Talc               Anprox.      N/A             Palo Alto;      Direct Non-
           CLARK &                      distributed for    1958-2016                    Riverside;      Occupational
                                        use in talcum                                   Altadena;
           DANIELS, INC.;               powder                                          Pasadena; San
                                        products                                        Marino;
                                                                                        Eugene, San
                                                                                        Francisco;
                                                                                        Washington
                                                                                        DC; Portland;
                            •                                                           Montrose; San
                                •
                                        _____________      __________   _____________
                                                                                        Gabriel

      Identify Have you ever served in the thilitary?              Yes        X No

      If yes:

           Identify the branch of service:

           Identify the dates of service:

           Identify the rank and title:


      ifi. MEDICAL RISTORY

                Which of the following diseases have you been diagnosed with? Check all that apply:
           X    Mesothelioma (pleural)
      ______    Mesothelioma (peritoneal)
                Lung Cancer Squamous Cell/Adenocarcinoma/Small Cell! Other (circle one)
                                    -



      _______   Asbestosis
      ______    Pleural Disease
      ______    Other      Specify:

                Date of diagnosis and name of diagnosing doctor (per disease, if more than one):         2/21/17
      US-Canadian Mesothelioma Referencefanel. Deoartment of Pathology. VancouvS General Hospital

      3.        Does any pathology material exist for the individual claiming as asbestos-related injury?
                     X Yes               No
                If YES, please identify what material exists and where it is presently located:          UCSF:
                destructive testing may not be conducted without Court Order
                Have you ever smoked? X                   Yes           No
                If YES, state years and quantity smoked: 1980-1985: 6 pack
